     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
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 4

 5
     Attorney for Defendant
     FRANK ALIOTO
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. 2:11-cr-00190 MCE
                                                      )
10
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
11
                                                      )       APPEARANCE
     v.                                               )
12
                                                      )
     FRANK ALIOTO,                                    )
13
                                                      )       Judge: Honorable Morrison C. England, Jr.
                                                      )
14          Defendant.                                )
                                                      )
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                                                      )
                                                      )
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            Pursuant to Fed.R.Crim.P. 43, defendant, FRANK ALIOTO, hereby waives the right to
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     be present in person in open court upon the hearing of any motion or other proceeding in this
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     case, including, but not limited to, when the case is set for trial, when a continuance is ordered,
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     and when other action is taken by the Court before or after trial, except upon arraignment, initial
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     appearance, trial confirmation hearing, entry of plea, and every stage of trial including verdict,
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     impanelment of jury and imposition of sentence.
24
            Defendant hereby requests the Court to proceed during every absence of his which the
25
     Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
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     at all times by the presence of his attorney, the same as if the defendant were personally present.
27
     Defendant further agrees to be present in Court ready for trial any day and hour the Court may
28
     fix in his absence.


                                                          1
 1          The defendant further acknowledges that he has been informed of his rights under Title
 2   18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
 3   delays without his personal appearance.
 4

 5   Dated: August 28, 2013
 6

 7                                                        /s/ Frank Alioto
                                                         FRANK ALIOTO
 8
                                                         (Original retained by attorney)
 9

10
            I concur in Frank Alioto's decision to waive his presence at future proceedings.
11

12
     Dated: August 28, 2013                              Respectfully submitted,
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14
                                                         /s/ John R. Manning
15                                                       JOHN R. MANNING
                                                         Attorney at Law
16
                                                         Attorney for Defendant
17                                                       Frank Alioto

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19          IT IS SO ORDERED.

20   Dated: August 30, 2013

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